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                                                  U.S. Department of Justice

                                                  Criminal Division



Appellate Section                                 Washington, D.C. 20530



August 31, 2022


Hon. Lyle W. Cayce, Clerk
United States Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130

         Re:        United States v. Rahimi, No. 21-11001
                    Oral argument held Aug. 30, 2022

Dear Mr. Cayce:

       Pursuant to Rule 28(j), the United States respectfully submits citations to the
colonial statutes discussed at yesterday’s oral argument, some of which were not
cited in the government’s supplemental brief.

      Before 1791, four colonies or states codified the common-law prohibition on
going armed offensively in a threatening manner and authorized arrest of those
who did so. See 1 Acts and Resolves, Public and Private, of the Province of the
Massachusetts Bay, 52-53 (1869) (1692 statute); Acts and Laws of His Majesty’s
Province of New-Hampshire: In New-England; with Sundry Acts of Parliament 17
(1771) (1701 statute); 1 Laws of the State of North-Carolina, including the Titles
of Such Statutes and Parts of Statutes of Great Britain as Are in Force in Said State
131-32 (1821) (1741 statute); Collection of All Such Acts of the General Assembly
of Virginia, of a Public and Permanent Nature, as Are Now in Force 33 (1794)
(1786 statute).

       The above statutes from Massachusetts Bay and New Hampshire also
required the offending person to find sureties of the peace or good behavior. And
those two statutes, plus the Virginia statute, required forfeiture of the offender’s
weapons.
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       Three additional colonies (plus Virginia after independence) codified the
common-law surety system before 1791. See 2 Statutes at Large of Pennsylvania
from 1682 to 1801, pg. 23 (1896) (1700 statute); 1 Laws of the State of Delaware
from the Fourteenth Day of October, One Thousand Seven Hundred, to the
Eighteenth Day of August, One Thousand Seven Hundred and Ninety-Seven 52
(1797) (1700 statute); Acts and Laws of His Majesties Colony of Connecticut in
New-England 91 (1901) (1702 statute); 13 Statutes at Large; Being a Collection of
All the Laws of Virginia, from the first Session of the Legislature, in the Year
1619, pg. 41 (1823) (1789 statute). Maryland’s 1776 Declaration of Rights also
assumed the common-law surety system in its section on oaths. 1 General Public
Statutory Law and Public Local Law of the State of Maryland, from the Year 1692
to 1839 Inclusive: With Annotations Thereto, and a Copious Index, pg. xxx (1840).

                                         Respectfully submitted,

                                         s/William A. Glaser
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                                         Criminal Division
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                           CERTIFICATE OF SERVICE

      I hereby certify that on August 31, 2022, I electronically filed the foregoing

document with the United States Court of Appeals for the Fifth Circuit using the

CM/ECF system. I certify that all participants in the case are registered CM/ECF

users and that service will be accomplished by the CM/ECF system.

                                               s/ William A. Glaser
                                               WILLIAM A. GLASER




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